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                                                   UNITED STATES DISTRICT COURT
                   11
                                                  NORTHERN DISTRICT OF CALIFORNIA
                   12
                                                           OAKLAND DIVISION
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                        In re Google RTB Consumer Privacy              Master File No. 4:21-cv-02155-YGR-VKD
                   15   Litigation,
                                                                       DEFENDANT GOOGLE LLC’S
                   16                                                  ADMINISTRATIVE MOTION TO EXTEND
                                                                       PAGE LIMIT FOR ITS OPPOSITION TO
                   17   This Document Relates to: all actions          PLAINTIFFS’ MOTION FOR CLASS
                                                                       CERTIFICATION AND APPOINTMENT OF
                   18                                                  CLASS REPRESENTATIVES AND CLASS
                                                                       COUNSEL
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ATTORNEYS AT LAW                                                                  GOOGLE’S MOTION TO EXTEND PAGE
 SAN FRANCISCO                                                               LIMITS FOR OPP. TO MOT. FOR CLASS CERT.
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                    1            Pursuant to Civil Local Rule 7-11, Defendant Google LLC (“Google”) hereby moves the
                    2   Court for an order granting a three-page extension of the page limit for Google’s anticipated
                    3   opposition to Plaintiffs’ Motion for Class Certification and Appointment of Class Representatives
                    4   and Class Counsel (ECF No. 546, the “Motion”). In addition to assisting the Court by providing
                    5   more complete briefing on the myriad factual and legal issues raised by the Motion, this modest
                    6   extension is necessary to avoid manifest unfairness. Plaintiffs already seized an extra three pages
                    7   for their brief in support of the Motion without leave, in violation of this Court’s local rules, and
                    8   Google seeks an opportunity to respond appropriately.
                    9            Plaintiffs unilaterally disregarded Civil Local Rule 7-2(b)’s 25-page limit by filing a 28-
                   10   page brief in support of the Motion. The Motion and its supporting brief contain 25 pages of
                   11   substantive legal argument, plus three additional pages captioned as a “Notice of Motion and
                   12   Motion” and “Statement of Issues to be Decided.” See Mot. at vii – ix. But Local Rule 7-2(b) is
                   13   clear: the motion, notice of motion, and all supporting text must be contained in “[i]n one filed
                   14   document not exceeding 25 pages in length.” Civ. L.R. 7-2(b) (emphasis added). This rule means
                   15   what it says: “the notice of motion and points and authorities should be contained in one document
                   16   with a combined page limit,” not with “notices of motion that are separately paginated from the
                   17   memoranda of points and authorities in support of the motions.” Wise v. MAXIMUS Fed. Servs.,
                   18   Inc., 445 F. Supp. 3d 170, 176 (N.D. Cal. 2020). Given this violation, the Court can sua sponte
                   19   strike the current Motion and require Plaintiffs to comply by resubmitting a revised Motion that
                   20   complies with Civil Local Rule 7-2(b). Swanson v. U.S. Forest Serv., 87 F.3d 339, 345 (9th Cir.
                   21   1996).
                   22            Assuming Google is required to respond to the current Motion, Google respectfully requests
                   23   that the Court grant leave for Google to file a brief of no more than 28 pages in opposition.
                   24   Plaintiffs’ Motion requires Google to address numerous complex topics. In addition to arguing that
                   25   Plaintiffs have not fulfilled the requirements of Rule 23(a) and (b) for each of their six legal
                   26   theories, Google will need to explain the complicated technologies at issue in this case and respond
                   27   to the opinions of five separate expert witnesses. The modest extension Google requests will allow
                   28   it to better develop these factual issues and their application to the class certification standard,
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ATTORNEYS AT LAW                                                                          GOOGLE’S MOTION TO EXTEND PAGE
 SAN FRANCISCO                                                            1          LIMITS FOR OPP. TO MOT. FOR CLASS CERT.
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                    1   assisting in the Court’s resolution of the Motion.
                    2               Plaintiffs never sought permission to file their overlength brief, yet they oppose Google’s
                    3   request for an equal number of pages to answer their contentions on the ground that “plaintiffs’
                    4   counsel have filed similarly formatted class certification motions before Judge Gonzalez Rogers
                    5   and other judges in this district with no issues raised by either defense counsel, the clerk’s office or
                    6   the Court itself.” Reddy Decl. ¶ 3. Simply put, Plaintiffs were able to make more arguments than
                    7   they could have had they followed the Local Rules, and it would be clearly unfair if Google could
                    8   not fully respond because it, by contrast, has chosen to follow the rules. See Hart v. TWC Prod. &
                    9   Tech. LLC, 2023 WL 3568078, at *1 (N.D. Cal. Mar. 30, 2023) (noting a sua sponte page limit
                   10   extension for a response to an overlength brief filed in violation of local rules’ page limits).
                   11               Google thus respectfully requests that, to the extent Google must respond to the Motion, the
                   12   Court grant its request for leave to file a brief of no more than 28 pages in opposition to Plaintiffs’
                   13   Motion.
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                        Dated: September 7, 2023                                 COOLEY LLP
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                                                                                 By: /s/ Aarti Reddy
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ATTORNEYS AT LAW                                                                               GOOGLE’S MOTION TO EXTEND PAGE
 SAN FRANCISCO                                                               2            LIMITS FOR OPP. TO MOT. FOR CLASS CERT.
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